                Case 21-21616-CMB                       Doc 23         Filed 08/19/21 Entered 08/19/21 12:52:04        Desc Main
                                                                      Document      Page 1 of 1




                                              IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                 IN RE: Patrick A. Rauluk                                                             CHAPTER 13
                                                               Debtor(s)
                                                                                                  BKY. NO. 21-21616 CMB


                                        ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

                    To the Clerk:

                           Kindly enter my appearance on behalf of PNC BANK, NATIONAL ASSOCIATION
                    and index same on the master mailing list.



                                                                 Respectfully submitted,


                                                                 /s/ ${s:1:y:_________________________}
                                                                     Maria Miksich
                                                                     18 Aug 2021, 15:02:03, EDT

                                                                 Brian C. Nicholas, Esq. (317240) ${c:1:n:bcn:att-y}
                                                                 Maria D. Miksich, Esq. (319383) ${c:1:n:mdm:att-y}
                                                                 Rebecca A. Solarz, Esq. (315936) ${c:1:n:ras:att-y}
                                                                 KML Law Group, P.C.
                                                                 BNY Mellon Independence Center
                                                                 701 Market Street, Suite 5000
                                                                 Philadelphia, PA 19106
                                                                 412-430-3594
                                                                 bkgroup@kmllawgroup.com




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